    Case 9:22-cv-81294-AMC Document 15 Entered on FLSD Docket 08/24/2022 Page 1 of 1


                              U N ITED STAT ES D ISTR ICT C O U R T
                              SO U TH ER N DISTR IC T O F FLO R ID A
                                Case N o.22-ClV-81294-AM C


                             CLERK 'S N O TICE O F FILIN G D EFICV N CY


    The Clerk's Office has received the documentts)submitted in the above referenced case. The
    documentls) do not comply with the requirements ofthe LocalRulesyCM/ECF Administrative
    Procedures,orthe FederalRules.The docum ents have been accepted forfiling;however,please
    note the deficiencies noted below .


          / Documentts)werefiled conventionallythatshould have been filed electronicall
                                                                                      y (see
             CM/ECFAdministrati
                              ve Procedures).
          EEIDocumentts)missing required signaturels)(Fed.R.Ci
                                                             V.P.11(a);Fed.R.Cr.P 49(d)).
          EEITranslation not provided .for documents written in foreign Ianguage (See CM/ECF
             Administrative Procedures).
          EEI CivilCoverSheetnotfiled pursuantto LocalRule 3.3.

          EEI Motion forAppearance Pro Hac Vice was notfiled w ith the required fee of$
             ($75.00 perattorneypercase),pursuantto SpecialRulesGoverning theAdmission
             and PracticeofAttorneys,LocalRule4(b). Please submitthe required fee.
             Case was notfiled with required filing fee of$        (civilcases'  .$400.00;memo
             cases:$46.00. ,habeascases:$5.00)pursuantto 28 U.S.C.j 1914 (a),andthe CM/ECF
'            Administrative Procedures. Summonsles)willnotbe issued untilthe filing fee ispaid or
             an ordergranting the Application to Proceed In Form a Pauperis is entered.

          EEI Pursuant to Adm inistrative O rder 2014-86, parties appl
                                                                     ying for a writ of garnishment
             should no Iongerpay $100 into the Coud registry and instead make thatpaym entto the
             garnishee upon demand under am ended section 77.28, Florida Statutes. The $100
             paym entis being returned via U .S .M ail.

    Date: 8/23/2022
                                            AN GELA E.N OBLE
                                            CourtAdm inistrator.Clerk ofCourt

                                            B     L.Streets
                                                y:
                                                              Deputy Clerk
